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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §
                                            §
VS.                                         §   CRIMINAL NO. H-06-422-2
                                            §            NO. H-09-271
                                            §
                                            §
HUGO BARRERA-CAVAZOS                        §


                                       ORDER

       Defendant Barrera-Cavozos filed an unopposed motion for continuance of the

sentencing hearing, (Docket Entry No.144). The motion for continuance is GRANTED. The

sentencing hearing is reset to November 14, 2012, at 9:00 a.m. Objections to the

presentence report are to be filed by October 30, 2012.

             SIGNED on September 12, 2012, at Houston, Texas.

                                           ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
